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                                  UNITED STATES DISTRICT COURT
                                            WESTERN DISTRICT OF TEXAS
                                                    EL PASO DIVISION

UNITED STATES OF AMERICA

          v.                                                          Case Number: EP:24-CR-00490-KC(2)
                                                                      USM Number: 08012-511
ANGEL DAVID ZAMORA

        Defendant.

                                         JUDGMENT IN A CRIMINAL CASE
                                   (For Offenses Committed On or After November 1, 1987)

        The defendant, ANGEL DAVID ZAMORA, was represented by Mary Stillinger.

        The defendant pled guilty to Count(s) One of the Indictment on September 17, 2024. Accordingly, the defendant
is adjudged guilty of such Count(s), involving the following offense(s):

Title & Section / Nature of Offense                                           Offense Ended                 Count

18 U.S.C. § 933(a)(1), 18 U.S.C. § 933(a)(3), and 18 U.S.C. § 933(b) -        February 28, 2024             One
Trafficking in Firearms

       As pronounced on January 7, 2025, the defendant is sentenced as provided in pages 2 through 8 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

        It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by
this Judgment are fully paid. If ordered to pay restitution, the defendant shall notify the Court and United States Attorney
of any material change in the defendant’s economic circumstances.

        SIGNED this 8th day of January, 2025.




                                      KATHLEEN CARDONE
                                      UNITED STATES DISTRICT JUDGE
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DEFENDANT:                   ANGEL DAVID ZAMORA
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                                                       IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a term of
twenty one (21) months as to count one.

         The defendant shall remain in custody pending service of sentence.




                                                           RETURN

          I have executed this Judgment as follows:




          Defendant delivered on                          to
at                                                                      , with a certified copy of this Judgment.


                                                                              United States Marshal

                                                                       By
                                                                              Deputy Marshal
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DEFENDANT:                   ANGEL DAVID ZAMORA
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                                                         SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of three years.

         While on supervised release, the defendant shall comply with the mandatory, standard and if applicable, the
special and/or additional conditions on the attached pages that have been adopted by this Court.

                                                       MANDATORY CONDITIONS

    1. The defendant shall not commit another federal, state, or local crime during the term of supervision.
    2. The defendant shall not unlawfully possess a controlled substance.
    3. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
        drug test within 15 days of release on probation or supervised release and at least two periodic drug tests
        thereafter ( as determined by the court), but the condition stated in this paragraph may be ameliorated or
        suspended by the court if the defendant's presentence report or other reliable sentencing information indicates low
        risk of future substance abuse by the defendant.
    4. The defendant shall cooperate in the collection of DNA as instructed by the probation officer, if the collection of
        such a sample is authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42
        U.S.C. § 14135a).
    5. If applicable, the defendant shall comply with the requirements of the Sex Offender Registration and Notification
        Act (42 U.S.C. § 16901, et. seq.) as instructed by the probation officer, the Bureau of Prisons, or any state sex
        offender registration agency in which the defendant resides, works, is a student, or was convicted of a qualifying
        offense.
    6. If convicted of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall participate in an
        approved program for domestic violence.
    7. If the judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance
        with the Schedule of Payments sheet of the judgment.
    8. The defendant shall pay the assessment imposed in accordance with 18 U.S.C. § 3013.
    9. The defendant shall notify the court of any material change in the defendant's economic
    10. circumstances that might affect the defendant's ability to pay restitution, fines or special assessments.
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DEFENDANT:                   ANGEL DAVID ZAMORA
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                                  STANDARD CONDITIONS OF SUPERVISED RELEASE

As part of your supervised release, you must comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and
identify the minimum tools needed by probation officers to keep informed, report to the court about, and bring about
improvements in your conduct and condition.

    1. The defendant shall report to the probation office in the federal judicial district where he or she is authorized to
        reside within 72 hours of release from imprisonment, unless the probation officer instructs the defendant to report
        to a different probation office or within a different time frame.
    2. After initially reporting to the probation office, the defendant will receive instructions from the court or the
        probation officer about how and when to report to the probation officer, and the defendant shall report to the
        probation officer as instructed.
    3. The defendant shall not knowingly leave the federal judicial district where he or she is authorized to reside
        without first getting permission from the court or the probation officer.
    4. The defendant shall answer truthfully the questions asked by the probation officer.
    5. The defendant shall live at a place approved by the probation officer. If the defendant plans to change where he or
        she lives or anything about his or her living arrangements (such as the people the defendant lives with), the
        defendant shall notify the probation officer at least 10 days before the change. If notifying the probation officer in
        advance is not possible due to unanticipated circumstances, the defendant shall notify the probation officer within
        72 hours of becoming aware of a change or expected change
    6. The defendant shall allow the probation officer to visit the defendant at any time at his or her home or elsewhere,
        and the defendant shall permit the probation officer to take any items prohibited by the conditions of the
        defendant's supervision that are observed in plain view.
    7. The defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless the
        probation officer excuses the defendant from doing so. If the defendant does not have full-time employment, he or
        she shall try to find full-time employment, unless the probation officer excuses the defendant from doing so. If the
        defendant plans to change where the defendant works or anything about his or her work (such as the position or
        job responsibilities), the defendant shall notify the probation officer at least 10 days before the change. If
        notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, the
        defendant shall notify the probation officer within 72 hours of becoming aware of a change or expected change.
    8. The defendant shall not communicate or interact with someone the defendant knows is engaged in criminal
        activity. If the defendant knows someone has been convicted of a felony, the defendant shall not knowingly
        communicate or interact with that person without first getting the permission of the probation officer.
    9. If the defendant is arrested or questioned by a law enforcement officer, the defendant shall notify the probation
        officer within 72 hours.
    10. The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous
        weapon (i.e., anything that was designed, or was modified, for the specific purpose of causing bodily injury or
        death to another person such as nunchakus or tasers ).
    11. The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential human
        source or informant without first getting the permission of the court.
    12. If the probation officer determines that the defendant poses a risk to another person (including an organization),
        the probation officer may require the defendant to notify the person about the risk and the defendant shall comply
        with that instruction. The probation officer may contact the person and confirm that the defendant has notified the
        person about the risk.
    13. The defendant shall follow the instructions of the probation officer related to the conditions of supervision.
    14. If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pay
        such penalties in accordance with the Schedule of Payments sheet of the judgment.
    15. If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a
        condition of supervision that the defendant shall provide the probation officer access to any requested financial
        information.
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    16. If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a
        condition of supervision that the defendant shall not incur any new credit charges or open additional lines of
        credit without the approval of the probation officer, unless the defendant is in compliance with the payment
        schedule.
    17. If the defendant is excluded, deported, or removed upon release on probation or supervised release, the term of
        supervision shall be a non-reporting term of probation or supervised release. The defendant shall not illegally re-
        enter the United States. If the defendant is released from confinement or not deported, or lawfully re-enters the
        United States during the term of probation or supervised release, the defendant shall immediately report (within
        72 hours of release) in person to the nearest U.S. Probation Office.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. I understand additional information regarding these conditions is
available at the www.uscourts.gov.

Defendant’s Signature                                                                    Date
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DEFENDANT:                   ANGEL DAVID ZAMORA
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                                     SPECIAL CONDITIONS OF SUPERVISED RELEASE

X        The defendant must participate in a substance abuse treatment program and follow the rules and
         regulations of that program. The program may include testing and examination during and after program
         completion to determine if the defendant has reverted to the use of drugs. The probation officer shall
         supervise the participation in the program (provider, location, modality, duration, intensity, etc.). During
         treatment, the defendant must abstain from the use of alcohol and any and all intoxicants. The defendant
         must pay the costs of such treatment if financially able.
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                                  ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

X        The defendant shall submit his or her person, property, house, residence, vehicle, papers, [computers as
         defined in 18 U.S.C. Section 1030(e)(1), other electronic communications or data storage devices or
         media,] or office to a search conducted by a United States Probation Officer. Failure to submit to a
         search may be grounds for revocation of release. The defendant shall warn any other occupants that
         the premises may be subject to searches pursuant to this condition. Any search must be conducted at a
         reasonable time and in a reasonable manner.

X        The defendant shall participate in an educational services program and follow the rules and regulations
         of that program. Such programs may include high school equivalency preparation, English as a Second
         Language classes, and other classes designed to improve the defendant’s proficiency in skills such as
         reading, writing, mathematics, or computer use. The defendant shall pay for the costs of the program if
         financially able.

X        The defendant shall reside in a residential reentry center for up to 180 days. The defendant shall follow
         the rules and regulations of the center.
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DEFENDANT:                             ANGEL DAVID ZAMORA
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                                                   CRIMINAL MONETARY PENALTIES/ SCHEDULE

        The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of
payments set forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment
of criminal monetary penalties is due during the period of imprisonment. Criminal Monetary Penalties, except those
payments made through Federal Bureau of Prisons’ Inmate Financial Responsibility Program shall be paid through the
Clerk, United States District Court, Attn: Mail Log, Albert Armendariz, Sr. United States Courthouse, 525 Magoffin
Avenue, Suite 105, El Paso, TX, 79901 or online by Debit (credit cards not accepted) or ACH payment (direct from
Checking or Savings Account) through Pay.gov (link accessible on the landing page of the U.S. District Court’s Website).
Your mail-in or online payment must include your case number in the exact format of DTXW324CR000490-002 to
ensure proper application to your criminal monetary penalty. The defendant shall receive credit for all payments
previously made toward any criminal monetary penalties imposed.
                                Assessment                     Restitution                         Fine               AVAA Assessment*                         JVTA Assessment**
  TOTALS:                              $100.00                             $.00                    $.00                                           $.00                                     $.00

                                                                                  Special Assessment

             It is ordered that the defendant shall pay to the United States a special assessment of $100.00.

                                                                                               Fine

             The fine is waived because of the defendant’s inability to pay.




           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or percentage
payment column above. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United States is paid.

             If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.

           The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of the
judgment, pursuant to 18 U.S.C. §3612(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

           Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5) fine principal, (6) fine interest, (7)
community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution and court costs.

             Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994, but before
April 23, 1996.

             * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.

             ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
